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                                Attorney for Defendant
                           18   INSPUR GROUP CO., LTD.
                           19                         IN THE UNITED STATES DISTRICT COURT
                           20                             NORTHERN DISTRICT OF CALIFORNIA
                           21                                        OAKLAND DIVISION
                           22
                                HEWLETT PACKARD ENTERPRISE
                           23   COMPANY                                      Case No.: 4:24-cv-02220-JST
                           24                 Plaintiff                      Judge Jon S. Tigar
                           25          v.                                    STIPULATION TO EXTEND
                                                                             DEFENDANT INSPUR GROUP CO.,
                           26   INSPUR GROUP CO., LTD., et al.               LTD.’S DEADLINE FOR INITIAL
                                                                             RESPONSE TO COMPLAINT
                           27                 Defendants
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                            1          Under Civil Local Rule 6-1(a), Plaintiff Hewlett Packard Enterprise Company and Defend-
                            2   ant Inspur Group Co., Ltd. (“Inspur Group”) stipulate to a 120-day extension of Inspur Group’s
                            3   deadline for its initial response to the complaint. Inspur Group’s new deadline for its initial re-
                            4   sponse to the complaint is Monday, August 26, 2024.
                            5          Inspur Group waives any objections to the method, form, and substance of service of the
                            6   complaint. Inspur Group does not waive any other defenses or objections.
                            7

                            8                                                         Respectfully submitted,
                            9                                                         DLA PIPER LLP (US)
                           10   Dated: May 21, 2024                                   /s/ Sean C. Cunningham (with authorization)
                                                                                      Sean C. Cunningham
                           11                                                         Erin P. Gibson
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                                                                                      Brent K. Yamashita
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                           13                                                         HEWLETT PACKARD
                                                                                      ENTERPRISE COMPANY
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                                                                                      BAKER & HOSTETLER LLP
                           16
                                Dated: May 21, 2024                                   /s/ Kevin W. Kirsch
                           17                                                         Kevin W. Kirsch
                           18                                                         Attorney for Defendant
                                                                                      INSPUR GROUP CO., LTD.
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                                    STIPULATION TO EXTEND DEFENDANT INSPUR GROUP CO., LTD.’S DEADLINE FOR INITIAL RESPONSE TO COMPLAINT
                                                                                                                   Case No.: 4:24-cv-02220-JST
